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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL                     No. 2:12-md-02323-AB
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                            MDL No. 2323


Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,

                               Plaintiffs,

              v.                             Civ. Action No.: 14-cv-00029-AB

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,
                               Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


MEMORANDUM OF LAW IN SUPPORT OF THE NATIONAL FOOTBALL LEAGUE
            AND NFL PROPERTIES LLC’S MOTION FOR
         THE APPOINTMENT OF A SPECIAL INVESTIGATOR

              The National Football League and NFL Properties LLC (together, the “NFL

Parties”) respectfully submit the following memorandum of law in support of their Motion for

the Appointment of a Special Investigator, pursuant to Federal Rule of Civil Procedure 53, to

assist the Claims Administrator and the Court in investigating the submission of fraudulent

claims to the NFL Concussion Settlement Program and recommending appropriate sanctions.
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                               PRELIMINARY STATEMENT

               This motion seeks the appointment of a Special Investigator to stop the

widespread fraud infecting the NFL Concussion Settlement Program and to ensure that deserving

Retired NFL Football Players are compensated in accordance with the terms of the Settlement

Agreement in a timely manner. The NFL Parties, Co-Lead Class Counsel and the Claims

Administrator have worked tirelessly to ensure robust registration in, and efficient operation of,

the Settlement Program, which—in its first year of a sixty-five year term—has registered over

20,000 Settlement Class Members and issued notices of claim determinations for over 375

Retired NFL Football Players, with the NFL Parties having funded over $225 million in finalized

claims. But those efforts have been hampered by the extraordinary number of fraudulent claims

clogging the system.

               The independent Claims Administrator placed into audit approximately 46% of

the total claims submitted because of red flags or other signs of potential fraud. Of those audited

claims, the Claims Administrator has already recommended that over 400 claims (or 23% of the

total claims submitted) be denied, including all claims submitted by a certain law firm, and that

thirteen neurologists or neuropsychologists and one Retired NFL Football Player be permanently

disqualified from the Program, due to the misstatement, omission or concealment of material

facts. Approximately 230 claims remain under audit and continue to be investigated for possible

fraud.

               The fraud discovered in the Program so far is deep and widespread.            Some

examples:

               •   A law firm representing more than 100 Settlement Class Members “coached”
                   retired players on how to answer questions during their neuropsychological
                   evaluations and directed at least one retired player to show up for his
                   evaluation hungover and on Valium.


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              •   A law firm representing more than 50 Settlement Class Members charged
                  players more if they obtained an Alzheimer’s diagnosis, and virtually all of
                  those players were evaluated by a pediatric neurologist who, in turn,
                  diagnosed 75% of the players he/she evaluated with Alzheimer’s, many of
                  whom were in their 30s and 40s and one of whom was just 29 years old.
                  Many of those claimants, notwithstanding their purported Alzheimer’s,
                  traveled from out of state to be evaluated by that particular neurologist.

              •   At least 21 medical reports submitted by that same neurologist included
                  identical vital signs for different players – a medical improbability of the
                  highest order.

              •   A neuropsychologist whose testing was relied on by over 150 claimants
                  attested under penalty of perjury that she had evaluated at least three players
                  (and as many as eight players) on each of 25 different days, including eight
                  players on New Year’s Eve.               On two separate occasions, the
                  neuropsychologist claimed to have spent more than 130 hours evaluating
                  claimants in just a 24-hour window.

              •   In multiple cases, a neuropsychologist whose testing was relied on by seven
                  claimants submitted two reports for a single player with different test results,
                  and then provided conflicting explanations when asked about the discrepancy.

              •   Text messages and other communications reveal a disturbing pattern of a
                  claims service provider coaching players to “beat” the neuropsychological
                  tests. In one such message, a representative of the claims service provider
                  told a player, “the doctors and myself went through your reports and we found
                  some things that we think we can take advantage of so you can pass the test
                  the second go around.” Another retired player was told, “your [sic] smart
                  enough to perform the right way,” to which the player replied, “That’s what
                  I’m saying I can do what I need to do, just let me know what I need to do.”
                  The claims service provider replied, “we will brother . . . . a few days before
                  it’s game time!!! LoL.”

              Significantly, in many instances the Settlement Class Members appear to have

been knowing participants in the fraud.        Notwithstanding claims of purportedly severe

impairment and limited functional abilities, many Settlement Class Members traveled long

distances to be evaluated by self-selected medical professionals, likely identified by their

lawyers, and, upon receiving purported diagnoses of Alzheimer’s or dementia, did not even seek

follow-up medical treatment. In many cases, performance validity testing showed clear evidence

of malingering and exaggeration – that is, cheating. Some Settlement Class Members lied about

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their purported impairment and functional abilities and/or deliberately concealed employment

and other activities that were inconsistent with—and thus would have undermined—their

supposed impairment and diagnoses. Some examples:

              •   A Retired NFL Football Player diagnosed with purported Level 2
                  Neurocognitive Impairment (i.e., moderate dementia) in January 2017 at the
                  age of 32 claimed that he was unable to work in any capacity due to his
                  cognitive impairment. Videos available online show that same player giving
                  lengthy and fully coherent motivational speeches, often without the assistance
                  of notes, on numerous occasions subsequent to the supposed diagnosis.

              •   A Retired NFL Football Player diagnosed with purported Alzheimer’s Disease
                  in June 2016 at the age of 54 claimed that he had stopped coaching football by
                  the time of his evaluation due to his severe cognitive impairment. Yet,
                  subsequent to his evaluation, the same retired player participated in multiple
                  videotaped interviews in which he discussed—without any apparent
                  difficulty—his current head coaching duties, and as recently as October 2017,
                  was interviewed by reporters about his ongoing role as a head football coach.

              •   A Retired NFL Football Player diagnosed with purported Alzheimer’s Disease
                  in July 2015 at the age of 39 claimed to have significant cognitive
                  impairments that made him incapable of even doing errands without
                  assistance. Yet, information available from public sources shows that the
                  same retired player is the head coach of a minor league football team, a
                  developmental football coach and a motivational speaker. When that player
                  submitted a form to the Claims Administrator asking for his employment
                  history subsequent to his diagnosis, he concealed his coaching position.

              •   A Retired NFL Football Player diagnosed with purported Level 2
                  Neurocognitive Impairment (i.e., moderate dementia) in December 2016 at the
                  age of 32 reported that he was unemployed, had significant issues with
                  memory and completing tasks and frequently would go into a room and forget
                  why he was there. That retired player concealed that he was working as a
                  registered wealth manager for a large investment firm.

              •   A Retired NFL Football Player diagnosed with purported Level 1.5
                  Neurocognitive Impairment (i.e., early dementia) in May 2017 at the age of 31
                  reported, among other things, that he had short-term memory problems,
                  difficulty completing tasks, difficulty helping his son with homework, and that
                  he had to quit his job because he had difficulty staying organized. He did not
                  disclose, however, that he was attending graduate school and received an
                  MBA degree in 2017 in the same month as his evaluation.




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               The pervasive fraud by doctors, lawyers and certain players cannot be allowed to

continue. The victims are not only the NFL Defendants, but also deserving, cognitively impaired

players whose claims have not been able to be processed promptly as a result of the significant

efforts required of the Claims Administrator to thwart fraud. Ironically, some of the lawyers

who are complaining most vociferously and publicly about the slow pace of claims

administration are themselves associated with the submission of questionable claims and the true

cause of the delay.

               This extensive and persistent pattern of fraud unquestionably warrants the

appointment of a Special Investigator, as the Court previously recognized in directing that “an

investigator will be appointed by [the Court], as needed, to look into possible fraudulent claims.”

The time for that appointment is now.         Given the serious fraud uncovered to date, the

appointment of a Special Investigator is necessary to preserve the integrity of the Program,

safeguard against the payment of fraudulent claims and provide adequate deterrence to those

intent on exploiting the Program for their own financial gain. The Special Investigator would

assist the Court, the Special Masters and the Claims Administrator by investigating potential

fraud and recommending appropriate remedies, including, without limitation, denial of claims,

permanent disqualification from the Program, referral to appropriate medical and legal licensing

authorities, referral to criminal authorities (including the Department of Justice) for potential

prosecution, contempt sanctions and sanctions against nonparties, pursuant to Rule 53.

                                 FACTUAL BACKGROUND

               The Settlement Agreement became effective on January 7, 2017. It provides for

Monetary Awards to be paid to Retired NFL Football Players who are diagnosed with a

Qualifying Diagnosis under the terms of the Settlement Agreement. The Program has a 65-year

term and is uncapped, meaning that the NFL Parties have agreed to provide full compensation to

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all Retired NFL Football Players with valid claims, with no ceiling on the total amount of

monetary awards.

               A.     The Settlement Agreement’s Fraud Protections

               Recognizing the potential for fraud in a Settlement Program of this magnitude, the

parties agreed to rigorous fraud protection measures in the Settlement Agreement.

               Among other fraud detection and prevention procedures, the Settlement

Agreement tasks the Claims Administrator with identifying and conducting audits of potentially

fraudulent claims. The Claims Administrator selects a random sample of 10% of claims on a

monthly basis for audit and, in addition, identifies potentially fraudulent claims based on, among

other things, the presence of red flags or other suspicious circumstances, information provided

through anonymous tips, analysis of claims by independent experts and data analytics. When a

claim is selected for audit, the Settlement Class Member may be required to submit additional

records, including other medical records, employment information and other relevant documents

or information.

               The Claims Administrator’s audit is limited to determining whether there is a

reasonable basis to support a finding that there has been a misrepresentation, omission or

concealment of a material fact in connection with the claim. If the Claims Administrator

determines there is no reasonable basis to support such a finding, the process of issuing a

Monetary Award proceeds. If, on the other hand, the Claims Administrator determines there is a

reasonable basis to support such a finding, it notifies Co-Lead Class Counsel and the NFL

Parties, and as long as at least one of those parties concurs, the Claims Administrator refers its

Audit Report to the Special Masters for review and findings and the imposition of remedies.

               The Claims Administrator does not attempt to determine whether the

misrepresentation, omission or concealment was intentional.        Instead, Section 10.3 of the

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Settlement Agreement provides that the Special Masters’ review and findings shall take into

account whether the misrepresentation, omission or concealment was intentional, and the Special

Masters may order the following relief, without limitation: (a) denial of the claim in the event of

fraud, (b) additional audits of claims from the same law firm or physician, (c) referral of the

attorney or physician to the appropriate disciplinary boards, (d) referral to federal authorities, (e)

disqualification from further participation in the Settlement, and/or (f) if a law firm is found to

have submitted more than one fraudulent submission, claim submissions by that law firm will no

longer be accepted, and attorneys’ fees paid to the firm by Settlement Class Members will be

forfeited and transferred to the Monetary Award Fund. The Special Masters are charged with

overseeing fraud detection and prevention procedures, and their responsibilities expressly

include reviewing and deciding the appropriate disposition of potentially fraudulent claims under

the supervision and oversight of the Court.

               B.      The Significant and Widespread Fraud in the Settlement Program
                       Uncovered to Date

               To date, the Claims Administrator, through its various fraud detection procedures,

has determined that approximately 46% of the total claims submitted warranted audit due to red

flags or other signs of potential fraud. The Claims Administrator has completed a number of

those audits, and the information it has uncovered leaves no question that there has been

substantial and pervasive fraud targeting the Settlement Program.

               In particular, the Claims Administrator has prepared eight audit reports describing

evidence supporting its conclusion in each of those reports that there was a reasonable basis to

support a finding of a misstatement, omission or concealment of a material fact. As illustrated

and summarized below, this evidence of fraud is egregious and poses a grave threat to the

integrity of the Program.


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                       1.      Law Firm-A

               The Claims Administrator developed credible evidence from multiple sources that

a law firm that represents more than 100 Retired NFL Football Players who have already

submitted claims (“Law Firm-A”) improperly coached players on how to answer questions

during their neuropsychological testing to receive a Qualifying Diagnosis. More specifically:

               •   One of the neuropsychologists who evaluated players represented by Law
                   Firm-A expressed concern that a lawyer from Law Firm-A would call and ask
                   what answer to a question would make a difference to the outcome. The
                   Claims Administrator also obtained evidence that Law Firm-A told players
                   that Law Firm-A could secure qualifying diagnoses and that it was willing to
                   pay doctors directly out of their pocket for those diagnoses.

               •   In addition, the Claims Administrator developed evidence that Law Firm-A
                   directed at least one Settlement Class Member to show up for his diagnosing
                   appointment hungover and on Valium, in order to make it appear that he had
                   cognitive impairment.

               It is not known, however, and cannot be determined without further investigation,

how many of the Settlement Class Members represented by Law Firm-A may have received

similar coaching or instructions, or participated in the fraudulent conduct identified. Nor is it

possible without further investigation to determine the full extent of the relationships and

financial arrangements between Law Firm-A and the physicians to whom it referred claimants.

The Claims Administrator also reported that the neuropsychologist who confirmed that a lawyer

from Law Firm-A would call and ask about answers to test questions stated that other law firms

would also call him to ask similar questions. The Claims Administrator specifically identified in

its Audit Report certain additional investigative steps that were not part of its audit.

                       2.      Claims Service Entity-A

               At the request of Co-Lead Class Counsel, through Court-authorized discovery,

Co-Lead Class Counsel obtained text messages and other communications from a claim service

entity retained by over 300 Retired NFL Football Players who have registered in the Program

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(“Claim Service Entity-A”).         Those communications reveal that Claim Service Entity-A

attempted to coach players to help them secure qualifying diagnoses, including the following

specific examples:

              •      In one communication, a representative of Claim Service Entity-A told a
                     retired player, “We train you for the test brother. It’s a Neurocognitive level
                     that is judged by two tests! Don’t cost you nothing to let us walk you through
                     the process!” The retired player asked, “How long is the training,” to which
                     the Claim Service Entity-A representative replied, “We just have our Director
                     of Psychological Development call you and do it over the phone.”

              •      In another exchange between a representative of Claim Service Entity-A and a
                     retired player, the player wrote, “Because God forbid if I ever do really get
                     messed up I want need y’all lol. But that’s kinda the reason why I signed ya
                     know.” The Claim Service Entity-A representative wrote in response,
                     “Everybody odds are different man . . . . your probably one of the most
                     intelligent clients I have . . . . . your odds aren’t as high as some other guys I
                     have . . . but your smart enough to perform the right way as well!” The retired
                     player replied, “That’s what I’m saying I can do what I need to do, just let me
                     know what I need to do.” The representative from Claim Service Entity-A
                     assured the player, “We will brother . . . . a few days before it’s game time!!!
                     LoL.”

              •      On another occasion, a representative of Claim Service Entity-A told a retired
                     player, “the doctors and myself went through your reports and we found some
                     things that we think we can take advantage of so you can pass the test the
                     second go around.”

              •      Finally, a representative of Claim Service Entity-A told a retired player, “We
                     have our own doctors we have gotten inside the BAP . . . . that’s why our
                     situation is better . . . . unlike majority of the folks . . . you wont have to go to
                     those NFL sides dr’s with us!”

              Again, without further investigation, it is unknown precisely what “coaching” was

provided and to whom, and the nature of the relationship between Claim Service Entity-A and

associated physicians and lawyers.

                         3.      Law Firm-B and Doctor-A

              The Claims Administrator has also uncovered troubling relationships between

certain law firms and doctors, including the following example:


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              •   According to the Claims Administrator, a law firm that represents more than
                  50 players who have submitted Claim Packages (“Law Firm-B”) charged
                  higher fees to players for whom they secured an Alzheimer’s diagnosis, as
                  opposed to Level 1.5 or Level 2 Neurocognitive Impairment, and virtually all
                  of those players were evaluated by the same doctor – a pediatric neurologist
                  (“Doctor-A”).

              •   Doctor-A, in turn, diagnosed a staggering 75% of the players he/she evaluated
                  (or 36 out of 48) with Alzheimer’s Disease. Almost all of the Alzheimer’s
                  diagnoses from Doctor-A were for young claimants. Indeed, 21 of the 36
                  claims were for players in the their 30s and 40s, and one player was just 29
                  years old when he received his Alzheimer’s diagnosis from Doctor-A.
                  Doctor-A was singlehandedly responsible for more than 60% of all of the
                  Alzheimer’s claims in the Program for players under 40 years of age.

              The Claims Administrator further determined that Doctor-A’s reports included

demonstrably false information, including for example:

              •   21 of the 48 reports submitted by Doctor-A included identical vital signs
                  across claimants. When questioned about that medical impossibility by the
                  Claims Administrator, Doctor-A was unable to provide a credible explanation.

              •   According to the Claims Administrator, in certain cases, Doctor-A submitted
                  affidavits claiming that his/her diagnosis was based on neuropsychological
                  testing “conducted contemporaneously” with his/her assessment when, in fact,
                  the neuropsychological report did not exist at the time of the diagnosis.

              The Claims Administrator also uncovered substantial evidence that Settlement

Class Members were complicit in this conduct. For example:

              •   When the Claims Administrator obtained the players’ other medical records
                  from healthcare providers unrelated to the Settlement Program, those records
                  were in many instances inconsistent with the diagnosis alleged.

              •   In one case, a player who was diagnosed with Alzheimer’s Disease in July
                  2015 by Doctor-A completed and signed a medical history questionnaire
                  nearly two years later, in May 2017, in which he denied any problems with
                  speech, memory or concentration.

              •   Some of the players were evaluated by other medical professionals who did
                  not find any cognitive issues.

              •   Certain players saw other physicians subsequent to their purported diagnosis
                  from Doctor-A, and the medical records from those physicians contained no
                  reference to the supposed diagnosis from Doctor-A.

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               •   Other players sought no treatment at all following Doctor-A’s evaluation,
                   despite being purportedly diagnosed with early or moderate dementia or even
                   Alzheimer’s Disease.

               Moreover, as to a number of the players evaluated by Doctor-A, there is evidence

from social media and other public sources that raises serious concerns about the veracity of their

claimed impairment and purported diagnoses. Without further investigation, though, the extent

of this behavior, and how many claimants (and other parties) participated in this deceptive

conduct, is unknown. Several examples are provided below for illustrative purposes:

               •   Player-1 is a Retired NFL Football Player who was diagnosed with
                   Alzheimer’s Disease by Doctor-A in June 2016 at the age of 54. Player-1
                   reported severe cognitive issues during his neurological evaluation and
                   submitted a third-party affidavit that stated he was a head football coach but
                   had hired people to do all the administrative work because he could not focus
                   on it. As part of an audit, the Claims Administrator requested clarification
                   from Player-1 regarding his employment status. In response, Player-1 claimed
                   that he had discontinued coaching football by the time of his evaluation in
                   June 2016 and had to relinquish all administrative work to others. However,
                   even after June 2016, Player-1 participated in multiple videotaped interviews
                   about his present coaching duties and, as recently as October 2017, was
                   interviewed by reporters about his role as a head football coach.

               •   Player-2 is a Retired NFL Football Player who was diagnosed with
                   Alzheimer’s Disease by Doctor-A in July 2015 at just 39 years of age. Player-
                   2 reported significant cognitive impairments, including memory loss,
                   becoming easily confused and being incapable of even doing errands without
                   assistance. But publicly-available information reflects that Player-2 is the
                   head coach of a minor league football team, a developmental football coach
                   and a motivational speaker. Of particular concern, when asked by the Claims
                   Administrator to complete a form listing current and past employment, Player-
                   2 still did not list his coaching positions. When the Claims Administrator
                   obtained medical records for Player-2 from other healthcare providers post-
                   dating the Alzheimer’s diagnosis by Doctor-A, those records included no
                   reference to Player-2’s supposed Alzheimer’s Disease.

                      4.      Law Firm-C and Doctors-B&C

               The Claims Administrator received an anonymous tip from two separate sources

that two neurologists (“Doctors-B&C”) who practiced together had rendered Qualifying

Diagnoses to every player they had seen and also had used questionable techniques in rendering

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these diagnoses, including diagnosing players in the offices of a law firm. Doctors-B&C,

together, diagnosed 84 claims valued at over $98.5 million; the law firm in question was

associated with 92% of these claims. Following an audit, the Claims Administration concluded,

for example:

               •     Doctors-B&C provided functional impairment ratings that were contrary to
                     the player’s apparent abilities. For example, one player was assigned a score
                     of 2—which indicates “no pretense of independent function outside the
                     house”—yet, the player was still actively involved in volunteer work and in
                     no way indicated any inability to function independently or a need for
                     assistance. Further, Doctors-B&C assigned the exact same score across all
                     relevant areas for 79 of the claims diagnosed.

               •     Of particular concern, the report concluded that Doctor-B submitted an
                     affidavit, under penalty of perjury, that he evaluated certain players in person,
                     when in fact there is no evidence that he did so.

               Because the Claims Administrator’s audit focused on the practices of Doctors-

B&C, additional investigation is necessary to determine the extent that Law Firm-B and/or

individual players were complicit in this conduct.

                        5.      Doctor-D and Doctor-E

               The Claims Administrator also identified two neuropsychologists (“Doctor-D”

and “Doctor-E”) who made material misrepresentations in connection with medical records

submitted as part of Claim Packages and, in some cases, thereafter provided conflicting

explanations for those misrepresentations, which explanations were deemed not credible by

independent experts.

               For     example,    70    claims    relied   on   evaluations    from    Doctor-D,    a

neuropsychologist, to support the diagnosis alleged. The Claims Administrator determined that:

               •     Doctor-D improperly concluded that a player’s test results demonstrated a
                     “valid assessment” of the player’s functioning, when in fact that player had
                     clearly failed all reported validity indicators—that is, the player’s test results
                     indisputably showed that the player exaggerated impairment to achieve a
                     specific result. Doctor-D also did not report scores on two out of the five

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                   validity tests administered—and always omitted the same two test scores in
                   each report.

               Similarly, the Claims Administrator determined that Doctor-E, a separate

neuropsychologist, also displayed suspect practices. By way of example:

               •   Doctor-E submitted two distinct reports for a single claimant with the same
                   evaluation date, same report date, and same patient background and history,
                   but with different tests allegedly conducted in each report and, for the tests
                   that overlapped between the two reports, different scores. When asked about
                   this discrepancy, Doctor-E provided inconsistent and conflicting explanations
                   to the Claims Administrator and to an attorney for one of the claimants who
                   also noticed the discrepancy.

               •   Doctor-E repeated this practice of submitting two reports from the same date
                   with conflicting information in multiple cases.

               The Claims Administrator’s audits of these claims focused on the practices of the

individual doctor. The Claims Administrator specifically noted that Doctor-D worked closely

with two local neurologists, but those neurologists were not interviewed.              The Claims

Administrator also observed that at least 32 of the players diagnosed with Level 2

Neurocognitive Impairment (i.e., moderate dementia) reported that they were actively employed

at the time of their assessments. Further investigation is warranted to determine the full extent of

any fraudulent conduct associated with Doctor-D and Doctor-E.

                       6.     Dr. Serina Hoover and Related Neuropsychologists

               In December 2017, following a referral by the Claims Administrator, the Special

Masters found that reports submitted by neuropsychologist Dr. Serina Hoover included

misstatements, omissions or concealments of material facts and, as a result, disqualified her from

the program. Among other issues:

               •   Dr. Hoover claimed to have evaluated at least three (and as many as eight)
                   players on each of 25 days, including eight players on New Year’s Eve.

               •   Based on her own sworn statements regarding the amount of time spent on
                   each evaluation and report, Dr. Hoover claimed to have spent 139 hours

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                  evaluating and preparing reports for retired players in a 24-hour window, and
                  134 hours in another 24-hour window.

              •   Dr. Hoover submitted “template” reports, including with a comment left in the
                  report that stated “these are scores from sample report.”

              •   The Claims Administrator subsequently determined that seven other
                  neuropsychologists also used the same template report that Dr. Hoover used
                  and that those claims also included a misstatement, omission or concealment
                  of a material fact.

              Significantly, there is also evidence that Settlement Class Members who were

evaluated by Dr. Hoover and the other template physicians were aware of and complicit in the

misconduct. On behalf of the Claims Administrator, an independent expert reviewed a sample of

seven claims that relied on testing by the template physicians and in all seven, the performance

validity tests showed malingering by the Retired NFL Football Players; that is, that the players

were exaggerating impairment to achieve a specific result.       The expert also found “clear

indications of exaggeration and unbelievable symptoms on a standardized, validated test,” and

one report characterized the player’s complaints and reported symptoms as “unbelievable.”

              In some cases, publicly available information appears to show that the Settlement

Class Members made deliberate misrepresentations and/or concealed employment or other

activities. For example:

              •   Player-3 is a Retired NFL Football Player who was diagnosed with Level 2
                  Neurocognitive Impairment (i.e., moderate dementia) by Dr. Hoover in
                  January 2017 at the age of 32. During his evaluation, Player-3 reported
                  significant cognitive impairment, including that he struggles to follow
                  instructions, has poor attention and is highly distractible. He reported
                  significant memory issues, claiming he could not remember common daily
                  events. According to his medical records, Player-3 was unable to work in any
                  capacity. However, videos available online show Player-3 delivering lengthy
                  and fully coherent motivational speeches, often without the assistance of any
                  notes, on numerous occasions post-dating his evaluation and diagnosis.
                  Moreover, social media profiles show Player-3 traveling around the world and
                  engaging in recreational activities like riding motorcycles, hiking, swimming,
                  and playing golf, all subsequent to his evaluation and purported moderate
                  dementia diagnosis.

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               •   Player-4 is a Retired NFL Football Player who was diagnosed with Level 1.5
                   Neurocognitive Impairment (i.e., early dementia) by Dr. Hoover in May 2017
                   at the age of 31. Player-4 reported, among other things, that he had short-term
                   memory problems, difficulty completing tasks, difficulty helping his son with
                   homework, and that he had to quit his job because he had difficulty staying
                   organized. He did not disclose, however, that he was attending graduate
                   school and received an MBA degree in 2017 in the same month as his
                   evaluation.

               •   Player-5 is a Retired NFL Football Player who was diagnosed with Level 2
                   Neurocognitive Impairment (i.e., moderate dementia) by Dr. Hoover in
                   December 2016 at the age of 32. At the time of his evaluation, he reported
                   that he was unemployed, had significant issues with memory and completing
                   tasks, and frequently would go into a room and forget why he was there. Yet,
                   publicly-available information reflects that he was working at the time as a
                   registered wealth manager for a large investment firm.

               As with the other instances of fraud, without further investigation, it is not known

which other players, law firms and physicians may also have participated in or been aware of

these deceptive practices.

               In sum, in only a year of this Program’s long life, the Claims Administrator has

uncovered significant fraud and a substantial need for a Special Investigator to conduct further

investigation to ensure that the appropriate remedies are imposed to preserve the integrity of the

program and to ensure that deserving players are paid without delay caused by a continued influx

of false claims.

                                         ARGUMENT

               It is well established that under Rule 53 and the Court’s inherent authority, the

Court may appoint a Special Master to investigate allegations of misconduct and preserve the

integrity of its judgments. Courts have appointed a Special Master tasked specifically with

investigating misconduct in connection with large class action settlement programs like this one.

See, e.g., In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mex., on Apr. 20,

2010, No. MDL 2179, 2014 WL 12788985, at *1, *5 (E.D. La. Apr. 29, 2014) (appointing


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special master specifically to “investigate allegations of misconduct within the Settlement

Program”); In re Engle Cases, No. 3:09-CV-10000, 2015 WL 12843860, at *1 (M.D. Fla. Dec.

22, 2015) (appointing special master to investigate potential misconduct by counsel in

settlement, including whether “counsel made any material misrepresentations to the Court”);

Ark. Teacher Ret. Sys. v. State St. Bank & Tr. Co., No. 11-10230, Order, ECF No. 173 (D. Mass.

Mar. 08, 2017) (appointing special master to investigate and report on accuracy and reliability of

representations made in connection with request for attorneys’ fees, and the reasonableness of

the award); see also Trentadue v. U.S. Cent. Intelligence Agency, No. 2:08-CV-0788, 2015 WL

1968263, at *5–6 (D. Utah Apr. 30, 2015) (appointing special master to investigate compliance

with order and allegations of witness tampering).

                 Here, the Court has already acknowledged the potential need to supplement the

Program’s existing anti-fraud resources. In a November 13, 2017 oral order, the Court directed

that an “an investigator will be appointed by [the Court], as needed, to look into possible

fraudulent claims.” For good reason. As set forth above, the fraudulent behavior identified to

date has been serious and widespread and the need for further investigation and additional

remedies is pressing. Accordingly, the NFL Parties submit that the appointment of a Special

Investigator is needed immediately. 1

        I.       A Special Investigator is Needed to Protect the Integrity of the Program

                 As reflected above, and as further described in the April 9, 2018 Response by the

Claims Administrator to Joinder and Motion by Neurocognitive Football Lawyers and in the

April 13, 2018 Declaration of Orran L. Brown, Sr., the Claims Administrator has conducted

effective and time-consuming audits and uncovered significant evidence of fraud. But the need


1
    The Claims Administrator has advised that it has no objection to the appointment of a Special Investigator and
    will cooperate fully with a Special Investigator as the Court and the Special Masters direct.

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for further investigation is far from over and a Special Investigator is essential to supplement the

work of the Claims Administrator and provide the Court and Special Masters with the

information needed to identify all culpable parties, fashion appropriate remedies, provide

effective deterrence and protect against payment of fraudulent claims.

               To that end, the NFL Parties propose that the Special Investigator would have the

authority under Rule 53 to conduct investigations and make recommendations regarding

appropriate remedies and sanctions. The role of the Special Investigator would include, without

limitation, the following:    (1) assisting the Special Masters in determining questions of

knowledge and intent, (2) assisting in determining the full scope of fraud (including by

identifying all culpable parties), and (3) otherwise assisting the Claims Administrator and

Special Masters as needed.

               A.      The Special Investigator Will Assist the Special Masters in
                       Determining Knowledge and Intent

               Pursuant to its duties under Section 10.2 of the Settlement Agreement, the Claims

Administrator’s audits are intended to determine whether there is a reasonable basis to support a

finding of a misstatement, omission or concealment of a material fact. The Claims Administrator

then prepares an Audit Report with its findings on that specific question and provides its

recommendations for appropriate remedies to be imposed by the Special Masters.

               In light of its narrow mandate, the Claims Administrator generally does not take

additional investigative steps once it has reached that determination. The Claims Administrator

does not determine whether a misrepresentation, omission or concealment was intentional.

Instead, the Settlement Agreement tasks the Special Masters with assessing questions of intent

and then fashioning appropriate remedies, which, under the Settlement Agreement, may include,

without limitation, referral of a physician or lawyer to appropriate disciplinary boards, referral to


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federal authorities, additional audits of related claims and forfeiting of attorneys’ fees paid by a

Settlement Class Member to a law firm that engaged in fraud. These and other more stringent

remedies are necessary, where the facts warrant them, in order to provide meaningful deterrence

and sufficiently guard against the payment of fraudulent claims.

               Without the assistance of a Special Investigator, however, the Special Masters are

generally limited to the information developed by the Claims Administrator, which only seeks to

determine whether there has been a misstatement, omission or concealment of a material fact. In

order to ensure that the Special Masters have all of the information necessary to evaluate and

determine which of the remedies available under the Settlement Agreement are appropriate, it is

imperative to have a Special Investigator continue certain investigations of relevant individuals

and entities following the completion of the Claims Administrator’s audit.

               Indeed, the Claims Administrator has recognized this need. In its Audit Report on

Law Firm-A, for example, the Claims Administrator noted that its audit did not attempt to

confirm all allegations about Law Firm-A and expressly recognized that there were specific

follow-up investigative steps that could be taken to potentially reveal intent.

               Moreover, when the Claims Administrator referred Dr. Hoover to the Special

Masters, based on a finding that Dr. Hoover had made material misstatements or omissions, the

Special Masters disqualified her from the Program and denied the corresponding claims without

prejudice, but did not impose additional remedies at that time based on the Audit Report. The

NFL Parties respectfully submit that it is critical to continue the investigation of Dr. Hoover,

Law Firm-A, and other similarly situated parties because if a physician or law firm has engaged

in intentional misconduct, mere disqualification from the Program is not a sufficient remedy and

will not serve to provide adequate deterrence to others. Thus, a Special Investigator should



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continue these investigations, determine whether the parties acted intentionally and report its

findings and recommendations to the Special Masters so that they may meaningfully evaluate the

full range of remedies and sanctions provided for in the Settlement Agreement and available

under Rule 53.

                 B.     The Special Investigator Will Help Determine the Full Scope of
                        Fraud, Including by Identifying All Culpable Parties

                 Relatedly, in addition to determining the intent of the primary subject(s) of an

audit report, a Special Investigator is needed to determine the full scope of any fraud, including

identifying all of the individuals and entities who knowingly participated in it. Otherwise,

remedies imposed based only on the Claims Administrator’s audit may not adequately address

all of the conduct or bad actors and may enable those who engaged in fraud to submit new claims

without any penalty. By helping to determine the full extent of any fraudulent conduct, the

Special Investigator will protect against the payment of fraudulent claims and deter further

fraudulent conduct.

                 For instance, the Claims Administrator concluded that there was a reasonable

basis to support a finding that Doctor-A made material misstatements and therefore

recommended that Doctor-A be disqualified and that the associated claims be denied without

prejudice.   But, as discussed above, there is already extensive evidence, based largely on

publicly-available information obtained without powers of discovery, that a number of these

Settlement Class Members were knowing and active participants in the deceptive conduct and in

fact made material misrepresentations themselves. However, without further investigation to

determine which Settlement Class Members participated in the misconduct, so that appropriate

remedies may be imposed, a retired player who knowingly engaged in fraud would suffer no

penalty other than the minimal inconvenience of having to submit a new claim. This would


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provide no deterrence at all and, in fact, would actually incentivize players to engage in precisely

this type of behavior.

               As another example, the Claims Administrator uncovered credible evidence that

Law Firm-A improperly “coached” players on how to approach neuropsychological testing to

obtain specific diagnoses. Absent a full investigation, merely disqualifying that law firm would

be an inadequate remedy as to the Settlement Class Members, because players who were

coached cannot “unlearn” that coaching and should not be allowed to participate in the

Settlement Program and receive future awards without further safeguards to ensure any new

claims they submit are valid.

               C.        The Special Investigator Also Will Assist the Claims Administrator
                         and Special Masters as Needed

               Finally, in light of the breadth of fraud already detected, and the volume of

potentially fraudulent claims, a Special Investigator should be appointed to assist the Claims

Administrator and Special Masters with additional investigation, as they deem necessary.

       II.     The Authority of the Special Investigator

               The NFL Parties respectfully submit that the Special Investigator should be

granted the full authority permitted under Rule 53 to carry out the duties and responsibilities

described above, including but not limited to the power to issue subpoenas and to compel and

take testimony. The Special Investigator should report directly to the Court and the Special

Masters, and should provide a status update to the Court on at least a monthly basis. The Special

Investigator also should work in consultation with the Claims Administrator and have the

discretion to communicate ex parte with the Court, the Claims Administrator, Co-Lead Class

Counsel, and/or counsel for the NFL Parties, as the Special Investigator deems appropriate.




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                                         CONCLUSION

               For the foregoing reasons, the NFL Parties respectfully submit that the Court

should promptly appoint a Special Investigator to carry out the responsibilities described herein.



Dated: April 13, 2018

                                             Respectfully submitted,

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